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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                **AMENDED** CIVIL MINUTES - GENERAL
 Case No.          CV 16-5051-GW(AFMx)                                             Date     January 11, 2018
 Title             ALS Scan, Inc. v. Cloudflare, Inc., et al.




 Present: The Honorable           GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                            Katie Thibodeaux
                 Deputy Clerk                         Court Reporter / Recorder                    Tape No.
                Attorneys Present for Plaintiffs:                    Attorneys Present for Defendants:
                        Jay M. Spillane                                         Andrew Bridges
                                                                              Jebediah Wakefield
                                                                               John L. Ambrogi
 PROCEEDINGS:                TELEPHONIC CONFERENCE



Court and counsel confer. The Court will allow any motion for summary judgment to be filed as long as
the requirements of Local Rule 6 are met.

Defendant Steadfast’s Motion for Summary Judgment [296], set for January 18, 2018, is continued to
February 1, 2018 at 8:30 a.m. Defendant Steadfast’s amended opposition to Plaintiff’s motion for
summary judgement will be amended to reflect the paragraphs (starting at No. 44) that will be in the
Defendant Steadfast Network’s statement of additional undisputed facts by January 16, 2018. Only the
citations will be amended and nothing further. Plaintiff ALS is to file an amended reply to Defendant’s
amended opposition and additional facts by close of business January 19, 2018.




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                                                                Initials of Preparer   JG
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